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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
v.                                                 § CASE NO. 1:23-CR-00004-MAC
                                                   §
                                                   §
RAHIM ABDAR JABBAR, III                            §
                                                   §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the district court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On April 5, 2023, this case came before the undersigned magistrate judge for entry of a

guilty plea by the Defendant, Rahim Abdar Jabbar, III, to Count One of the Indictment. Count

One alleges that on or about October 20, 2022, in the Eastern District of Texas, Rahim Abdar

Jabbar, III, the Defendant, did knowingly and unlawfully possess in and affecting interstate or

foreign commerce, a firearm, to wit, one Canik, semi-automatic pistol, model METE SFT, 9 mm,

serial number 21 CC 24482, while knowing that he had been convicted of a crime or crimes

punishable by imprisonment for a term exceeding one year, all in violation of 18 U.S.C. §

922(g)(1) - Felon in Possession of a Firearm.

       The Defendant entered a plea of guilty to Count One of the Indictment into the record at

the hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule

of Criminal Procedure 11, the undersigned finds:


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       a.      That the Defendant, after consultation with his attorney, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this case by a United States

magistrate judge in the Eastern District of Texas, subject to a final approval and imposition of

sentence by the District Court.

       b.      That the Defendant is fully competent and capable of entering an informed plea,

that the Defendant is aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty is made freely, knowingly, and voluntarily.         Upon addressing the

Defendant personally in open court, the undersigned determines that the Defendant’s plea is

knowing and voluntary and did not result from force, threats or promises. See FED. R. CRIM. P.

11(b)(2).

       c.      That the Defendant’s knowing and voluntary plea is supported by an independent

factual basis establishing each of the essential elements of the offense and the Defendant realizes

that his conduct falls within the definition of the crime charged under 18 U.S.C. § 922(g)(1) -

Felon in Possession of a Firearm.

                                  STATEMENT OF REASONS

       As factual support for the Defendant’s guilty plea, the Government presented a factual

basis. See Factual Basis. In support, the Government would prove that the Defendant is the

same person charged in the Indictment, and that the events described in the Indictment occurred

in the Eastern District of Texas. The Government would also have proven, beyond a reasonable

doubt, each and every essential element of the offense as alleged in Count One of the Indictment

through the testimony of witnesses, including expert witnesses, and admissible exhibits. In

support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described




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in detail in the factual basis, and the Defendant’s admissions made in open court in response to

the undersigned’s further inquiry into the factual basis.

       The Defendant agreed with and stipulated to the evidence presented in the factual basis.

Counsel for the Defendant and the Government attested to the Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that he was entering the guilty plea knowingly, freely

and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the Indictment. Accordingly, it is further

recommended that the District Court finally adjudge the Defendant, Rahim Abdar Jabbar, III,

guilty of the charged offense under 18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm.

                                          OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(C), each party to this action has the right to file

objections to this Report and Recommendation. Objections to this Report must (1) be in writing,

(2) specifically identify those findings or recommendations to which the party objects, (3) be

served and filed within fourteen (14) days after being served with a copy of this Report, and (4)

be no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(C); FED. R. CRIM. P.

59(b)(2); E.D. TEX. CRIM. R. CR-59(c). A party who objects to this Report is entitled to a de

novo determination by the United States District Judge of those proposed findings and




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recommendations to which a specific objection is timely made. 28 U.S.C. § 636(b)(1)(C); FED.

.R. CRIM. P. 59(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

findings of fact and conclusions of law accepted by the United States District Judge, see

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).

                  SIGNED this the 6th day of April, 2023.




                                              ___________________________________
                                              Christine L Stetson
                                              UNITED STATES MAGISTRATE JUDGE




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